         IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                           Plaintiff,        )
                                             )
        vs.                                  )     No. 06-03114-10-CR-S-GAF
                                             )
ADIL MAJLOVIC,                               )
                                             )
                           Defendant.        )


                           REPORT AND RECOMMENDATION
                           CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. §636, and has

entered a plea of guilty to Count One of the Indictment filed on

September 20, 2006.        After cautioning and examining the Defendant

under oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty plea was knowledgeable and voluntary,

and that the offense charged is supported by a factual basis for

each of the essential elements of the offense.                       I therefore

recommend     that   the    plea    of   guilty   be   accepted    and   that    the

Defendant be adjudged guilty and have sentence imposed accordingly.



Date:     January 30, 2008                     /s/ James C. England
                                                JAMES C. ENGLAND, CHIEF
                                             UNITED STATES MAGISTRATE JUDGE




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                                 NOTICE

     Failure to file written objections to this Report and
Recommendation within ten(10) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28
U.S.C. §636(b)(1)(B).




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